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AQ 93C (08/13) Warrant by Telephone or Other Reliable Electronic Means % Original 3 Duplicate Original

UNITED STATES DISTRICT COURT

for the m=

District of Delaware ed

Case No. 23- 50m

WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

To: Any authorized law enforcement officer

In the Matter of the Search of

(Briefly describe the property to be searched
or identify the person by name and atkdress;
APPLE [CLOUD ACCOUNT, APPLE ICLOUD BACKUP DATA, APPLE
MACBOOK PRO LAPTOP F/N FVFVCZMMHV2G, AND A WESTERN
DITIGAL HARD DRIVE SiN WX2IAL9ATFFS

Sea ae

An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the District of Delaware
fidentifv the person or describe the property to be searched und give its location):

See Attachment A, incorporated herein

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or Recperty
described above, and that such search will reveal (fdenrify she person or describe the property to be seized): FILEC
See Attachment B, incorporated herein

"IAN 29 2004

1S. DISTRICT CQHRT nreToInT ot ary anne

Wid. HO TRIG T Ol

YOU ARE COMMANDED to execute this warrant on or before December 18,2023 nor io exceed 14 days)
@ in the daytime 6:00 a.m, to 10:00 p.m. Cl at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to U.S. Magistrate Judge Christopher J. Burke
(United States Magistrate Judge)

O Pursuant to 18 U.S.C. § 3103a(b), | find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check ite appropriate box)

9 for _ days fnor te exeved 30) until, the facts justifying, the later specific date of

Date and time issued: | Oecamber 4, 2023 at 12:00 pm Chrsstayoter 2. Burka
ongture

Judge's si:

City and state: Wilmington, Delaware Hon. Christopher J. Burke, United States Magistrate Judge

Printed name und title

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AO 93C (08/18) Warrant by Telephone ar Other Reliable Electronic Means (Poge 2)

ww? Return

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
23- SOTM 12/09/23 WA

Inventory made in the presence of :

Inventory of the property taken and name(s) of any person(s) seized:

Digital evidence was Ceviewed by SF Boyd Ouctekard,
No Physical evidence was SOR -

Certification

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.

Date: o1/29)24

at
